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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      LUFKIN DIVISION


 UNITED STATE OF AMERICA                            §
                                                    §
 V.                                                 §           NO. 9:06cr46(1)
                                                    §
                                                    §
 WILFORD EARL PATTON,                               §
                Defendant                           §


              MEMORANDUM OPINION ADOPTING REPORT AND
      RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE AND ORDER


            The Court heretofore ordered that this matter be referred to the Honorable Earl S. Hines,

 United States Magistrate Judge, for consideration pursuant to applicable law and orders of this Court.

 The Court has received and considered the Report of the United States Magistrate Judge pursuant

 to such order. No objections to the Report of the United States Magistrate Judge were filed by the

 parties.

            The court concludes that the findings of fact and conclusions of law of the United States

 Magistrate Judge are correct, and the Report of the United States Magistrate Judge is ADOPTED.

 It is further ORDERED that Defendant's motion [Docket No. 112] is therefore DENIED.


               So ORDERED and SIGNED this 13 day of September, 2010.




                                                           ___________________________________
                                                           Ron Clark, United States District Judge
